                                                                       FILED IN OPEN COURT
                                                                       ON       q I1 (;).~ f3 1'2-t-i.
                                                                            Peter A. Moore, Jr., Clerk
                                                                            US District Court
                                                                            Eastern District of NC

                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           EASTERN DIVISION

                           No. 4:.1.3:ce-L\:'o--Bo·BM


UNITED STATES OF AMERICA,               )
                                        )
               V.                       )             INDICTMENT
                                        )
STEVEN NICHOLAS FULTON                  )
                                        )


       The Grand Jury charges that:



       On or about August 7, 2023, in the Eastern District of North Carolina, the

defendant, STEVEN NICHOLAS FULTON, in connection with the acquisition of a

firearm, that being, a Taurus GX4 9mm pistol, from Carolina Caliber located at 571

W. Fire Tower Road in Winterville, North Carolina, a licensed dealer of firearms

within the meaning of Chapter 44 of Title 18, United States Code, knowingly made a

false and fictitious written statement to Carolina Caliber, which was intended and

likely to deceive Carolina Caliber, as to a fact material to the lawfulness of such sale

of the said firearm to the defendant under chapter 44 of Title 18, in that he did

execute a Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and

Explosives form 44 73, Firearms Transaction record, and represented that he had not

previously been convicted of a crime punishable by imprisonment for a term

exceeding one (1) year and that he had not been a djudicated mentally defective or

committed to a mental institution, when in fact as the defendant knew, he was a felon

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and had been adjudicated mentally defective or committed to a mental institution, in

violation of Title 18, United States Code, Sections 922(a)(6) and 924.



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                               FORFEITURE NOTICE

       The defendant is given notice that all of the defendant's interest in all property

specified herein is subject to forfeiture.

       Upon conviction of any violation of the Gun Control Act, the National Firearms

Act, or any other offense charged herein that involved or was perpetrated in whole or

in part by the use of firearms or ammunition, the defendant shall forfeit to the United

States, pursuant to 18 U.S.C. § 924(d) and/or 26 U.S.C. § 5872, as made applicable by

28 U.S.C. § 2461(c), any and all firearms and ammunition that were involved in or

used in a knowing or willful commission of the offense, or that were intended to be

used in any offense identified in 18 U.S.C. § 924(d)(3), or, pursuant to 18 U.S.C. §

3665, that were found in the possession or under the immediate control of the

defendant at the time of arrest.


                                                 A TRUE BILL



                                                 F,l>REPERSON                 I



                                                 DATE:


MICHAEL F. EASLEY, JR.
United States Attorney



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By: LEONARD CHAMPAIGN
Assistant United States Attorney
Criminal Division
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